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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
                                       RENO, NEVADA




MICHAEL ERWINE,                              )      CASE NO: 3:18-CV-0461-RCJ-WGC
                                             )
               Plaintiff(s),                 )      ORDER SCHEDULING EARLY
                                             )      NEUTRAL EVALUATION SESSION
vs.                                          )
                                             )
CHURCHILL COUNTY,                            )
                                             )
               Defendant(s).                 )
                                             )


       Pursuant to the current Court-Based Early Neutral Evaluation Program in the District of

Nevada as outlined in Local Rule 16-6, an Early Neutral Evaluation Session is hereby scheduled

to commence on Monday, February 4, 2019 at 1:30 p.m. in the courtroom of the undersigned

United States Magistrate Judge, Courtroom No. 1, Bruce R. Thompson Courthouse and Federal

Building, 400 South Virginia Street, Fourth Floor, Reno, Nevada.

              I. PREPARATION FOR EARLY NEUTRAL EVALUATION

       A.   ATTENDANCE               OF    COUNSEL        AND      CLIENT       OR       CLIENT
       REPRESENTATIVE

       Unless excused by order of the Court, clients or client representatives with complete

authority to negotiate and consummate a settlement shall be in attendance at the early
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neutral evaluation. All parties and counsel should make arrangements to be present at the early

neutral evaluation for the entire session. Every effort should be made to avoid scheduling airline

flights or other obligations that will interfere with or shorten the settlement negotiations. This

requires the presence of the client or if a corporate, governmental, or other organizational entity,

an authorized representative of the client. For a defendant, such representative must have final

settlement authority to commit the organization to pay, in the representative’s own discretion, a

settlement amount up to the plaintiff’s prayer, or up to the plaintiff’s last demand, whichever is

lower. For a plaintiff, such representative must have final authority, in the representative’s own

discretion, to authorize dismissal of the case with prejudice, or to accept a settlement amount down

to the defendant’s last offer.

        If board approval is required to authorize settlement, the attendance of at least one sitting

member of the board (preferably the chairperson) is absolutely required. Any insurance company

that is a party or is contractually required to defend or to pay damages, if any, assessed within its

policy limits in this case must have a fully authorized settlement representative present. Such

representative must have final settlement authority to commit the company to pay, in the

representative’s own discretion, an amount within the policy limits, or up to the plaintiff’s last

demand, whichever is lower.

        The purpose of these requirements is to have in attendance a representative who has both

the authority to exercise his or her own discretion, and the realistic freedom to exercise




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such discretion without negative consequences, in order to settle the case during the early neutral

evaluation without consulting someone else who is not present. In the event counsel for any party

is aware of any circumstance which might cast doubt on a client’s compliance with these

provisions, s/he shall immediately discuss the circumstance with opposing counsel to resolve it

well before the early neutral evaluation, and, if such discussion does not resolve it, request a

telephone conference with the court and counsel.

        Counsel appearing for the early neutral evaluation without their client representatives or

insurance company representatives, authorized as described above, will cause the early neutral

evaluation to be canceled or rescheduled. The non-complying party, attorney or both may be

assessed the costs and expenses incurred by other parties and the court as a result of such

cancellation, as well as any additional sanctions deemed appropriate by the court. Counsel are

responsible for timely advising any involved non-party insurance company of the requirements of

this order.

        B. PREPARATION FOR EARLY NEUTRAL EVALUATION SESSION

        In preparation for the ENE session, the attorneys for each party shall submit a confidential

written evaluation statement for the Court's in camera review. The ENE statement shall be concise

and shall:

               1.      Identify, by name or status, the person(s) with decision-making authority,
                       who, in addition to counsel, will attend the ENE session as
                       representatives(s) of the party;

               2.      Describe briefly the substance of the suit, addressing the party’s views on
                       the key liability issues and damages;




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               3.     Describe the principal evidence upon which your party’s claims or defenses
                      are based. State the statutory or other authority upon which you base your
                      claims.

               4.     Address whether there are legal or factual issues whose early resolution
                      would reduce significantly the scope of the dispute or contribute to
                      settlement negotiations;

               5.     Describe the history and status of settlement negotiations; and

               6.     Include copies of documents, pictures, recordings, etc., out of which the suit
                      arose, or whose availability would materially advance the purposes of the
                      evaluation session, (e.g., medical reports, documents by which special
                      damages might be determined.)


               The ENE written evaluation statements shall be delivered to my chambers, Suite

404, not later than Monday, January 28, 2019 at 4:00 P.M. DO NOT DELIVER OR MAIL

THEM TO THE CLERK'S OFFICE.                   DO NOT SERVE A COPY ON OPPOSING

COUNSEL. The original of the ENE written evaluation statement should be in an envelope

clearly marked "Confidential, contains ENE evaluation statement". [If numerous and/or odd-sized

documents are included with the statement pursuant to Section 6 above, it is not necessary to

provide them in duplicate.]

       The purpose of the ENE statement is to assist the Court in preparing for and conducting the

ENE session. In order to facilitate a meaningful conference, your utmost candor in providing the

requested information is required. The ENE statement will not be seen by the District Judge or

Magistrate Judge assigned to this case. The confidentiality of each statement will be strictly




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maintained unless a party gives the Court permission to reveal some or all of the information

contained within the statement. Following the ENE session, the statements will be destroyed. If

documents are submitted to the Court for review, the party submitting the documents may request

their return provided that such a request is made within three court days following the ENE session.

If no such request is timely received by the Court, the documents will be destroyed.



       DATED: January 4, 2019




                                                      CARLA BALDWIN CARRY
                                                      UNITED STATES MAGISTRATE JUDGE




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